Case 2:20-cv-09091-PA-AS Document 158 Filed 10/26/21 Page 1 of 2 Page ID #:7284



 1   Stephen McArthur (State Bar No. 277712) Rollin A. Ransom (State Bar No. 196126)
     stephen@smcarthurlaw.com                rransom@sidley.com
 2   Thomas Dietrich (State Bar No. 254282) Lauren M. De Lilly (State Bar No. 301503)
     tom@smcarthurlaw.com                    ldelilly@sidley.com
 3   THE MCARTHUR LAW FIRM, P.C.             Paula C. Salazar (State Bar No. 327349)
     9465 Wilshire Blvd., Ste. 300           psalazar@sidley.com
 4   Beverly Hills, CA 90212                 SIDLEY AUSTIN LLP
     Telephone: (323) 639-4455               555 West Fifth Street
 5                                           Los Angeles, CA 90013
     Attorneys for Plaintiff Thrive          Telephone: (213) 896-6000
 6   Natural Care, Inc.                      Facsimile: (213) 896-6600
 7                                          Attorneys for Defendant Thrive
                                            Causemetics, Inc.
 8
 9                            UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
11
12   THRIVE NATURAL CARE, INC.,               Case No. 2:20-cv-9091-PA-AS
13              Plaintiff,                    Hon. Percy Anderson
14        vs.                                 JOINT STATEMENT REGARDING
                                              THE USE OF DEMONSTRATIVE
15   THRIVE CAUSEMETICS, INC.,                EXHIBITS AT TRIAL
16              Defendant.                    Trial Date: November 9, 2021
                                              Time:       9:00 a.m.
17                                            Place:     Courtroom 9A
18
19
20
21
22
23
24
25
26
27
28

      JOINT STATEMENT REGARDING THE USE OF DEMONSTRATIVE EXHIBITS AT TRIAL
Case 2:20-cv-09091-PA-AS Document 158 Filed 10/26/21 Page 2 of 2 Page ID #:7285



 1         Pursuant to the Court’s Order (ECF No. 157), counsel for Plaintiff Thrive
 2   Natural Care, Inc. and counsel for Defendant Thrive Causemetics, Inc. hereby advise
 3   the Court that neither party intends to use demonstrative exhibits at trial.
 4
     DATED: October 26, 2021                 THE MCARTHUR LAW FIRM, PC
 5
                                             By: /s/ Stephen McArthur
 6                                           Stephen McArthur
 7                                           Attorneys for Plaintiff Thrive Natural Care,
                                             Inc.
 8
 9   DATED: October 26, 2021                 SIDLEY AUSTIN LLP
10
                                             By: /s/ Rollin A. Ransom
11                                                Rollin A. Ransom
12                                           Attorneys for Defendant Thrive Causemetics,
                                             Inc.
13
14                               SIGNATURE ATTESTATION
15         I am the CM/ECF filer whose identification and password are being used to file
16   the foregoing Joint Statement Regarding the Use of Demonstratives at Trial. In
17   compliance with Local Civil Rule 5-4.3.4(a)(2)(i), I hereby attest that every signatory
18   has concurred in this filing.
19   DATED: October 26, 2021                 By: /s/ Rollin A. Ransom
20                                                  Rollin A. Ransom
21
22
23
24
25
26
27
28

                                                1
      JOINT STATEMENT REGARDING THE USE OF DEMONSTRATIVE EXHIBITS AT TRIAL
